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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

        v.
                                                          Criminal Action No. 21-cr-47 (RDM)
 HECTOR EMMANUEL VARGAS
 SANTOS,

                Defendant.


                                            ORDER

       Attached hereto are the Court’s draft voir dire and draft preliminary jury instructions.

The parties are hereby ORDERED to review the attached materials and be prepared to discuss

them at the pretrial conference on November 16, 2022, at 10:00 a.m., in Courtroom 8.

     SO ORDERED.


                                                      /s/ Randolph D. Moss
                                                      RANDOLPH D. MOSS
                                                      United States District Judge

    Date: November 14, 2022
